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11:33:17    1

            2                      UNITED STATES DISTRICT COURT

            3                     WESTERN DISTRICT OF NEW YORK

            4

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            6   - - - - - - - - - - - - - - X
                UNITED STATES OF AMERICA    )             21MJ4100
            7                               )
                vs.
            8                                           Buffalo, New York
                RAEKWON GREEN,              )           July 29, 2021
            9               Defendant.                     1:30 p.m.
                - - - - - - - - - - - - - - X
           10   DETENTION HEARING
                Transcribed from an Electronic Recording Device
           11

           12                     TRANSCRIPT OF PROCEEDINGS
                           BEFORE THE HONORABLE MARIAN W. PAYSON
           13                   UNITED STATES MAGISTRATE JUDGE

           14
                                    JAMES P. KENNEDY, JR., ESQ.
           15                       United States Attorney
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           22

           23

           24   COURT REPORTER: Karen J. Clark, Official Court Reporter
                                Karenclark1013@AOL.com
           25                   100 State Street
                                Rochester, New York 14614
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            2
                                       P R O C E E D I N G S
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                                        *           *           *
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09:08:00    5

09:08:00    6

14:11:03    7                  THE CLERK:       United States of America versus

11:33:23    8   Raekwon Green, 21-MJ-4100.

11:33:30    9                  MAGISTRATE JUDGE PAYSON:             I received a

11:33:31   10   pretrial services report.          It does recommend Mr. Green's

11:33:34   11   continued detention.

11:33:35   12                  Mr. Lembke, did you see that report.

11:33:38   13                  Mr. LEMBKE:       Yes, I received it and I read

11:33:40   14   it.

11:33:40   15                  MAGISTRATE JUDGE PAYSON:             Mr. Harvey, did

11:33:42   16   you see the report?

11:33:42   17                  MR. HARVEY:       I have, Judge.

11:33:44   18                  MAGISTRATE JUDGE PAYSON:             Both parties

11:33:45   19   prepared to proceed?

11:33:46   20                  Mr. LEMBKE:       Yes, your Honor.

11:33:47   21                  MAGISTRATE JUDGE PAYSON:             Mr. Harvey, go

11:33:49   22   ahead.

11:33:49   23                  MR. HARVEY:       Your Honor, the government has

11:33:50   24   moved to detain the defendant on both grounds of risk of

11:33:55   25   flight and risk of danger to the community.                As your
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11:33:58    2   Honor indicated, a pretrial report has been issued and

11:34:05    3   recommends detention on both grounds.             The government

11:34:14    4   agrees with those recommendations.            As for reasons, I

11:34:18    5   will explain here and in a few moments.

11:34:25    6                  All of the 3142 (g) factors in this case

11:34:29    7   strongly favor detention of this defendant pending

11:34:34    8   trial.    And I would note, as I did when I first moved to

11:34:40    9   detain the defendant, and that part of our argument will

11:34:44   10   rely on the rebuttable presumption based on the 924(c)

11:34:52   11   charge upon a finding by the Court that there is

11:35:48   12   probable cause to believe that charge has been made out.

11:35:51   13                  So, the first factor, your Honor, is the

11:35:55   14   nature and circumstances of the offenses charged.                The

11:35:58   15   charged offenses, as your Honor is aware, involve

11:36:02   16   attempted Hobbs Act robbery and possession and

11:36:06   17   brandishing of a firearm during and in relation to a

11:36:09   18   crime of violence.        Both of those offenses are

11:36:13   19   exceptionally serious.         The severity of those offenses

11:36:18   20   is exemplified by the penalties that both of those

11:36:22   21   offenses carry.       The robbery charge itself carries a

11:36:26   22   maximum penalty of 20 years imprisonment, and the

11:36:29   23   firearms charge carries at least seven years of

11:36:35   24   imprisonment up to life consecutive to the robbery

11:36:39   25   charge.    Clearly these offenses, just by looking at the
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11:36:43    2   statutes, are exceptionally serious.             But, I further

11:36:48    3   state that the circumstances of this particular offense

11:36:51    4   demonstrate how serious these offenses are.               And as

11:36:55    5   detailed in the Criminal Complaint affidavit, the

11:36:58    6   charges relate to a violent home invasion robbery that

11:37:01    7   occurred at 331 Conrad Drive on March 22nd, 2020.                  At

11:37:08    8   the time of the robbery, there were two adult occupants,

11:37:13    9   a female who I'll refer to during this hearing as

11:37:17   10   "Victim 1," and a male who I'll refer to during this

11:37:22   11   hearing as "Victim 2," and two teenage children were

11:37:25   12   present inside the residence.           Victims 1 and 2 both

11:37:30   13   describe three black males entering the residence all

11:37:34   14   wearing masks and dark clothing, and two of whom were

11:37:38   15   carrying and brandishing handguns.            They indicate that

11:37:43   16   these three black males entered the residence, held them

11:37:46   17   at gun point, searched the house for drugs and money and

11:37:50   18   property and eventually stole personal property and cash

11:37:56   19   before fleeing the residence.           Victim 1 states that one

11:38:05   20   of the perpetrators of this offense surprised her from

11:38:09   21   behind in the kitchen of the residence, put his hand

11:38:13   22   over her mouth and told her to be quite.              Two of the

11:38:17   23   other perpetrators in the case told her or said at some

11:38:21   24   point, words to the effect, "give me the shit," and "you

11:38:24   25   know what we want," which, she understood to mean that
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11:38:28    2   they were looking for drugs and money.             Victim 1

11:38:33    3   admitted that one of her brothers is involved in drug

11:38:37    4   trafficking and was present at the house earlier that

11:38:39    5   day and that is what led her to the conclusion that the

11:38:43    6   perpetrators were looking for drugs and money when they

11:38:46    7   entered the residence.         According to Victim 1, the

11:38:50    8   perpetrators eventually took personal property

11:38:53    9   consisting of a cell phone, jewelry and a video gaming

11:38:58   10   system during the robbery.          Victim 2, who was also

11:39:02   11   involved in the drug trade, as evidenced by the Criminal

11:39:07   12   Complaint where I note that Victim 2 had been convicted

11:39:10   13   in Federal Court of narcotics conspiracy charges

11:39:13   14   recently, he was playing video games when he was

11:39:18   15   surprised by someone putting a gun in his face.                  Three

11:39:23   16   of the perpetrators, according to Victim 2, were

11:39:27   17   involved.     I'll refer to them as "suspect one," "suspect

11:39:33   18   two" and "suspect three," because Victim 2 was able at

11:39:38   19   least differentiate some of the suspects by some

11:39:42   20   personal characteristics.          Victim 2 states that suspects

11:39:45   21   two and three were armed with handguns during the

11:39:48   22   robbery, that one of the perpetrators, referred to as

11:39:56   23   "suspect three," initially held Victim 1, Victim 2 and

11:39:59   24   the two teenage children at gun point in a downstairs

11:40:04   25   bedroom while suspect one remained in the kitchen and
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11:40:08    2   suspect two searched the house for drugs.              Victim 2,

11:40:12    3   during the robbery, heard another individual on

11:40:15    4   speakerphone giving directions to suspect two as he

11:40:19    5   searched the house.        At one point, suspect two tied

11:40:25    6   Victim 2's hands behind his back and took him through

11:40:28    7   the house to assist in the search for drugs and money.

11:40:35    8   When they went to search and upstairs bedroom, suspect

11:40:38    9   two said, in sum and substance, "if it ain't here, I'm

11:40:43   10   going to do you."

11:40:45   11                  MAGISTRATE JUDGE PAYSON:          So who was it that

11:40:46   12   tied the hands of Victim 2 did you say?

11:40:49   13                  MR. HARVEY:      Suspect two.

11:40:51   14                  MAGISTRATE JUDGE PAYSON:          And led him around

11:40:52   15   the house is what your proffer is?

11:40:54   16                  MR. HARVEY:      That's right, Judge.

11:40:56   17                  Mr. LEMBKE:      I'm sorry.      I didn't hear what

11:40:58   18   you said.     What was your question?

11:41:00   19                  MAGISTRATE JUDGE PAYSON:          Led him around the

11:41:01   20   house was the question.

11:41:03   21                  Mr. LEMBKE:      Okay.

11:41:04   22                  MAGISTRATE JUDGE PAYSON:          Go ahead.

11:41:05   23                  MR. HARVEY:      Yes.    And Victim 2 interpreted

11:41:08   24   suspect two's statements to him to mean that suspect two

11:41:12   25   would shoot Victim 2 if the drugs and money were not
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11:41:18    2   found.    Suspect one then came upstairs and told suspect

11:41:26    3   two to shoot victim two if he, meaning Victim 2, did

11:41:32    4   anything wrong.       And as they continued the search,

11:41:38    5   Victim 2, who was fearing that he was going to be shot

11:41:42    6   and/or killed, tried to shut suspect one and two in a

11:41:48    7   bedroom and then ran down the hallway and jumped down an

11:41:52    8   entire flight of stairs to try and get away.               In that

11:41:57    9   process, victim two broke his leg.            But, not withstand

11:42:03   10   having the broken leg and still fearing for his safety,

11:42:07   11   he tried to run out the side door of the residence, but

11:42:11   12   suspects one, two and three caught him and threw him to

11:42:14   13   the floor.     Victim 2 stated that he was also pistol

11:42:21   14   whipped during the robbery and had approximately $2100

11:42:25   15   in cash taken from him, which he has described as the

11:42:28   16   proceeds of the sale of a vehicle that he had recently

11:42:35   17   sold to somebody else.         Victim 1 did not identify the

11:42:41   18   defendant in a photo array as we noted in the Criminal

11:42:46   19   Complaint.     We submit that is not surprising considering

11:42:49   20   the fact that this defendant as well as the other two

11:42:52   21   perpetrators who entered the house were wearing masks at

11:42:57   22   the time of the robbery.         But, your Honor, those facts

11:42:59   23   and circumstances conveyed by victims one and two show

11:43:05   24   that the nature and circumstances of this offense weighs

11:43:09   25   very strongly in favor of detention.             The defendant and
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11:43:12    2   his accomplices created a dangerous and life-threatening

11:43:18    3   situation for Victim 1, Victim 2 and the two teenage

11:43:22    4   children.     And, frankly, from my perspective, this case

11:43:25    5   is one step away from an assault one shooting or, worse,

11:43:30    6   homicide.

11:43:41    7                  With respect to the weight of the evidence,

11:43:44    8   Judge, the evidence in this case is strong.               I've laid

11:43:51    9   out a lot of the information relating to this particular

11:43:55   10   robbery in the Criminal Complaint.            I shouldn't say I

11:44:00   11   did, but the affiant, Agent Martineck.             And I can state

11:44:06   12   that as you can see, there was information from one

11:44:10   13   cooperating witness in the Complaint affidavit who I've

11:44:13   14   referred to as CW 1, cooperating Witness 1.               Cooperating

11:44:19   15   Witness 1 is currently in a cooperative posture and is

11:44:24   16   cooperating with the government, obviously, in hopes of

11:44:28   17   obtaining some sort of reduced sentence or disposition.

11:44:31   18   But cooperating Witness 1 provided a detailed account of

11:44:36   19   the robbery of 331 Conrad Drive on March 22nd, 2020.                  He

11:44:44   20   identified Witness 1 from the affidavit as the

11:44:49   21   individual who arranged the home invasion and drove them

11:44:55   22   to the home invasion.        He identified this defendant, who

11:45:00   23   he knew as "Bundles" or "Bundy" as one of the

11:45:06   24   perpetrators who entered the house during the home

11:45:09   25   invasion.     And he identified, albeit, at one moment,
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11:45:34    2   Judge, he also identified the third individual who

11:45:40    3   entered the house in a photo array, although I would

11:45:43    4   just like to state exactly what he said about that

11:45:46    5   because it's not quite precise.           He was shown a photo

11:45:52    6   array and identified the other perpetrator saying the

11:45:56    7   person in the photograph looked familiar and stated, "I

11:45:59    8   think that is the cowboy," the individual he referred to

11:46:03    9   "Cowboy," "the guy from Greece.           I don't know his name,

11:46:07   10   the beard did it for me."          The individual he identified

11:46:10   11   in that photo array is another cooperating witness in

11:46:13   12   this case who has confirmed his presence as the

11:46:20   13   perpetrator who entered the house.            I'll refer to that

11:46:23   14   cooperating witness as CW 2.           CW 2 has entered a plea

11:46:30   15   and cooperation agreement with the government and is

11:46:32   16   currently in a cooperative posture.             In proffers with

11:46:37   17   the government, CW 2 has admitted his involvement in the

11:46:41   18   home invasion, identified Witness 1 as the individual

11:46:45   19   who arranged the home invasion and drove the

11:46:47   20   perpetrators to the scene of the home invasion,

11:46:54   21   identified CW 1 as being one of the perpetrators of the

11:47:01   22   home invasion, and, also, eventually identified this

11:47:05   23   defendant as being the fourth perpetrator of the home

11:47:10   24   invasion.     And I would like to explain the circumstances

11:47:13   25   of that identification, Judge, just so the record is
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11:47:16    2   clear.    In an initial proffer session with CW 2, like I

11:47:25    3   said, he admitted his role in the home invasion at 331

11:47:33    4   Conrad Drive and stated four people involved; three

11:47:37    5   people that entered the house and Witness 1 who entered

11:47:41    6   the house and stayed outside.          In the course of that

11:47:45    7   proffer, CW 2 was shown a photo array containing a

11:47:49    8   photograph of this defendant, and CW 2 identified this

11:47:53    9   defendant and said he recognized him or said he "looked

11:47:56   10   like the guy that went to the home invasion with CW 2

11:48:00   11   and Witness 1, from the affidavit, "near a firehouse in

11:48:07   12   Webster."    And I say that, Judge, because in other parts

11:48:10   13   of this proffer, CW 2 explained or described a different

11:48:17   14   home invasion robbery that occurred near a firehouse in

11:48:21   15   Webster and he states that Witness 1 from the Complaint

11:48:24   16   Affidavit and this defendant were involved in that home

11:48:27   17   invasion as well.       CW 2 stated that he did not know the

11:48:33   18   defendant's nickname, but he said that Witness 1

11:48:37   19   referred to him as "Lil Mans," and CW 2 stated that he

11:48:46   20   was not 100 percent sure, but that it definitely looked

11:48:49   21   like him.    And I should note, Judge, that this proffer

11:48:53   22   occurred during the pandemic and it was done via WebEx,

11:48:58   23   so the photo arrays that were shown to the witness were

11:49:01   24   shown over a computer screen.

11:49:06   25                  In a subsequent proffer in early February of
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11:49:10    2   this year with CW 2, the investigative team spoke again

11:49:19    3   with that individual.        And during that proffer, the

11:49:24    4   investigator showed CW 2 the same photo array in which

11:49:30    5   he previously identified the defendant as being involved

11:49:32    6   in a separate home invasion and asked CW 2 if that

11:49:38    7   person did any other home invasions or what he refers to

11:49:42    8   as "licks" with CW 2.        And at first, CW 2 stated that he

11:49:48    9   did not.    But then later in the proffer session, he

11:49:55   10   recounted the home invasion at 331 Conrad Drive and did

11:50:03   11   say that there were four perpetrators, including Witness

11:50:09   12   1, CW 1, and he said that the fourth perpetrator was one

11:50:19   13   with a brush cut who was the same guy from the home

11:50:22   14   invasion near the firehouse, referring to the home

11:50:25   15   invasion near the firehouse in Webster.             And he did

11:53:47   16   state that the guy from the firehouse, meaning the

11:53:54   17   defendant, had a compact gun during that particular

11:53:59   18   property.

11:54:00   19                  MAGISTRATE JUDGE PAYSON:         Which particular

11:54:01   20   robbery?

11:54:02   21                  Mr. LEMBKE:      Which particular robbery?

11:54:03   22                  MR. HARVEY:      What's that?

11:54:06   23                  MAGISTRATE JUDGE PAYSON:         Which

11:54:06   24   particular --

11:54:07   25                  MR. HARVEY:      331 Conrad.     So, Judge, there
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11:54:21    2   are two cooperating witnesses at this point who describe

11:54:24    3   what happened during the home invasion at 331 Conrad as

11:54:28    4   well as two victims that describe what happened.                 Two

11:54:30    5   witnesses, at this point, identify this defendant as

11:54:33    6   being one of the perpetrators.           I would note that the

11:54:39    7   complaint affidavit does layout information from Witness

11:54:43    8   1 who was also involved in the home invasions, the home

11:54:48    9   invasion, excuse me.        As we state in the affidavit,

11:54:54   10   Witness 1 had entered a proffer agreement with the

11:54:57   11   government and provided extensive information about this

11:55:00   12   home invasion as well as others.           But I want to say for

11:55:05   13   the record, because I didn't reference this in the

11:55:06   14   affidavit, he is not currently in a cooperative posture.

11:55:10   15   But the information that he did provide in those proffer

11:55:14   16   sessions were, obviously, consistent with the

11:55:18   17   information provided by CW 1 and CW 2.             Witness 1

11:55:24   18   specifically identified three individuals who

11:55:28   19   participated in the home invasion and each of those

11:55:31   20   individuals are CW 1, CW 2.

11:55:34   21                  MAGISTRATE JUDGE PAYSON:         So let me ask you

11:55:37   22   a question about CW 1.        When you say he is not in a

11:55:40   23   cooperative posture, have you determined that CW 1 has

11:55:45   24   provided you information which was not accurate?

11:55:51   25                  MR. HARVEY:      No.   And, Judge, for the record
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11:55:53    2   W 1.

11:55:54    3                  MAGISTRATE JUDGE PAYSON:         I'm sorry, W 1.

11:55:56    4                  MR. HARVEY:      I know.

11:55:57    5                  MAGISTRATE JUDGE PAYSON:         I was with you.

11:55:59    6   Witness 1.

11:55:59    7                  MR. HARVEY:      Yes, Witness 1.

11:56:00    8                  MAGISTRATE JUDGE PAYSON:         You have not made

11:56:01    9   a determination not to engage in further cooperation

11:56:07   10   with Witness 1 because you determined that he was not

11:56:11   11   credible?

11:56:12   12                  MR. HARVEY:      That's correct, Judge.           That's

11:56:15   13   correct, Judge, that is not the case.

11:56:16   14                  MAGISTRATE JUDGE PAYSON:         It's for some

11:56:17   15   other reason?

11:56:17   16                  MR. HARVEY:      Yes.

11:56:18   17                  MAGISTRATE JUDGE PAYSON:         Not having to do

11:56:20   18   with credibility.

11:56:21   19                  MR. HARVEY:      That's correct, Judge.

11:56:22   20                  MAGISTRATE JUDGE PAYSON:         Okay.

11:56:26   21                  MR. HARVEY:      So, Judge, I know it got a

11:56:36   22   little convoluted because of the circumstances, but I

11:56:39   23   submit to you, the weight of the evidence in this case

11:56:42   24   is reasonably strong and there is a substantial chance

11:57:23   25   of the government prevailing at trial were the defendant
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11:57:31    2   to be indicted for the two offenses alleged in the

11:57:35    3   Complaint.

11:57:35    4                  With respect to the defendant's personal

11:57:38    5   characteristics, the Pretrial Services Report spells out

11:57:45    6   much of his characteristics, and I would like to focus

11:57:48    7   at least on what I view to be the most aggravating of

11:57:52    8   his personal characteristics and that is his criminal

11:57:54    9   history.     The defendant is 24 years old.           And since the

11:58:02   10   age of 16, he has sustained seven criminal convictions,

11:58:07   11   that is seven convictions over the course of eight

11:58:10   12   years, four of which are felonies, and three of which

11:58:14   13   were misdemeanors.       The Pretrial Services Report gives

11:58:20   14   you the details on all of those, but suffice it to say,

11:58:23   15   over the last eight years, the defendant has served

11:58:26   16   several jail and prison sentences for those offenses and

11:58:33   17   it's apparent from not only this case, but also his

11:58:37   18   criminal record, that he is unable to follow the law, to

11:58:43   19   obey the rules and to live a law abiding life.               That

11:58:48   20   point is driven home, not just by the number of

11:58:52   21   convictions and the severity of the convictions, but

11:58:54   22   also by the fact that over the course of his criminal

11:58:58   23   career, he has two probation violations as well as three

11:59:03   24   parole violations.       That track record demonstrates that

11:59:07   25   he would be unable to abide by any conditions of release
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11:59:15    2   were this Court to impose them.            And, more importantly,

11:59:18    3   that he poses a very significant danger to the community

11:59:22    4   were he to be released from custody.            I would rely on

11:59:26    5   the Pretrial Services Report for the details unless your

11:59:30    6   Honor would like to hear more about the criminal record.

11:59:34    7                  MAGISTRATE JUDGE PAYSON:         Do you have any

11:59:35    8   information with respect to what the nature of the

11:59:38    9   probation violations or parole violations were?

11:59:43   10                  MR. HARVEY:      You know, your Honor, I was

11:59:44   11   trying to piece that together from the police reports,

11:59:46   12   but I can't give you a definitive answer on that.                I

11:59:49   13   have hundreds of pages of police reports relating to

11:59:52   14   this defendant, and I wasn't able to connect them to the

11:59:55   15   dates that are reflected in here.            I certainly would be

11:59:59   16   happy to run that down.         I would note that, at least

12:00:04   17   with respect to one of the -- the second violation of

12:00:07   18   probation in November of 2013, that violation of

12:00:10   19   probation led to him being resentenced to prison time

12:00:14   20   from his initial probation sentence.            So I would submit

12:00:18   21   that is more than likely not just a technical violation

12:00:23   22   where there is a misunderstanding.

12:00:24   23                  MAGISTRATE JUDGE PAYSON:         Okay.    But you

12:00:25   24   don't have any specific information?

12:00:27   25                  MR. HARVEY:      I don't.     I don't.
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12:00:29    2                  MAGISTRATE JUDGE PAYSON:         Okay.

12:00:38    3                  MR. HARVEY:      And just to revisit the

12:00:40    4   rebuttable presumption issue, Judge, I think the

12:00:43    5   information provided by victims one and two taken

12:00:46    6   together with the information from CW 1 and CW 2 shows

12:00:50    7   that there is probable cause that this defendant

12:00:54    8   committed a violation of 924(c) by carrying a firearm

12:00:58    9   during and in relation to a crime of violence,

12:01:02   10   possessing it in furtherance of that crime of violence,

12:01:05   11   and brandishing it in furtherance of that crime of

12:01:08   12   violence.    So I would ask the Court to apply the

12:01:11   13   presumption in this case.         And if you do, the government

12:01:15   14   submits that the defendant, based on the Pretrial

12:01:19   15   Services Report, cannot overcome that rebuttable

12:01:23   16   presumption to show that he would not be a danger to the

12:01:26   17   community or that he would not be a risk of flight.              So,

12:01:30   18   based on the proffer, Judge, I would suggest that or I

12:01:33   19   submit that we have shown by a preponderance of evidence

12:01:36   20   that the defendant is a serious risk of flight, and

12:01:40   21   we've shown by clear and convincing evidence that the

12:01:44   22   defendant is a danger to the community if he were to be

12:01:47   23   released from custody.

12:01:48   24                  MAGISTRATE JUDGE PAYSON:         You talked about

12:01:49   25   in your proffer, you proffered that Victim 2 was, I
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12:01:53    2   think you said, pistol whipped?

12:01:56    3                  MR. HARVEY:      Yes.

12:01:57    4                  MAGISTRATE JUDGE PAYSON:         Are you proffering

12:01:58    5   any information as to the identification of the

12:02:01    6   individual or individuals whom you say are responsible

12:02:05    7   for that or perpetrated it?

12:02:10    8                  MR. HARVEY:      My recollection, and if I could

12:02:12    9   have a moment to confirm this.           Victim 2 did not state

12:02:48   10   which of the perpetrators pistol whipped him.               Although,

12:02:53   11   I would state, Witness 1, that is W 1, stated that --

12:03:09   12   well, first Witness 1 stated that all three of the

12:03:16   13   perpetrators who entered the residence carried guns,

12:03:20   14   including this defendant who carried a black 380.                And

12:03:24   15   Witness 1 states that a male inside the residence ran

12:03:29   16   and broke his leg after Bundy, who was this defendant,

12:03:35   17   pistol whipped him.       So Witness 1 states that this

12:03:38   18   defendant was responsible for pistol whipping victim

12:03:42   19   two.

12:04:16   20                  MAGISTRATE JUDGE PAYSON:         Okay.    Anything

12:04:21   21   else, Mr. Harvey?

12:04:24   22                  MR. HARVEY:      No, your Honor.

12:04:25   23                  MAGISTRATE JUDGE PAYSON:         Okay.    Mr. Lembke.

12:04:27   24                  Mr. LEMBKE:      Your Honor, give me just one

12:04:29   25   moment, please.
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12:08:02    2                  MR. HARVEY:      Actually, Mr. Lembke, I'm sorry

12:08:04    3   it's not apparent from the Pretrial Services Report, the

12:08:07    4   defendant's first two felony convictions were for

12:08:47    5   attempted burglary in the second degree.              Both of those

12:08:53    6   involved dwellings and did involve completed burglaries

12:09:00    7   of residences.      The first at 603 Pullman Avenue in June

12:09:05    8   of 2012, and the second one is at 26 Pearl Street in

12:10:07    9   October of 2012, during which the defendant and others

12:10:13   10   that he was involved with entered the house and stole

12:10:17   11   personal property.

12:10:20   12                  MAGISTRATE JUDGE PAYSON:         Okay.    Thank you.

12:10:21   13                  MR. HARVEY:      You're welcome.

12:10:44   14                  Mr. LEMBKE:      I would like to focus your

12:10:46   15   Honor on really what the principle issue is here and

12:10:52   16   that is whether Raekwon Green was, in fact, one of the

12:10:59   17   three perpetrators of this robbery at 331 Conrad Street

12:11:08   18   on March 22, 2020.       There is, in my view, some

12:11:18   19   significant inconsistency in the versions and

12:11:25   20   descriptions of the incidents of that evening.               I

12:11:29   21   believe it was that night around 8 or 8:30 at night when

12:11:34   22   this allegedly happened.         And, in that regard, I want to

12:11:41   23   call to the Court's attention that we have, essentially,

12:11:44   24   we have three witnesses -- not essentially, we do.               We

12:11:48   25   have three sources of information, we'll call it.
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12:11:51    2   Whether they are witnesses or not, I suppose, is a

12:11:56    3   characterization.       These are three sources of

12:11:58    4   information, not including the two victims because

12:12:04    5   they've identified what happened in there, but they

12:12:08    6   weren't able to identify the individuals, obviously.

12:12:11    7   Witness 1, based upon my reading of the Criminal

12:12:20    8   Complaint, is a drug user.         And the reason I say that is

12:15:14    9   because in the Criminal Complaint under Witness 1's

12:15:21   10   information, the witness admitted to his role in two

12:15:28   11   home invasion robberies, one on Avenue E and one on

12:15:34   12   Wellington Street, and identified co-conspirators who

12:15:36   13   participated in those crimes.          And he describes, as I

12:15:44   14   recall it correctly, that the witness told the

12:15:52   15   government that he had to be careful because they were

12:15:56   16   trying to hit a drug dealer's sister's house and that he

12:16:03   17   had to be careful because he was buying heroin from his

12:16:07   18   drug dealer, from this drug dealer.            So, and he had a

12:16:14   19   hunch that drugs would be in the house because this drug

12:16:17   20   dealer received heroin about once a month.              So, Witness

12:16:28   21   1 is, seems to me, and I guess the government can

12:16:33   22   confirm this, if they have this information, is a heroin

12:16:37   23   user, a drug addict.        Witness 1 is also problematic

12:16:46   24   because as I listened to the government's proffer,

12:16:51   25   seemed to me that the description that Witness 1 was
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12:16:54    2   giving of the other three perpetrators of this crime was

12:16:58    3   pretty vague.      For example, one -- and we would think,

12:17:03    4   by the way, and as I understand it, this witness was

12:17:07    5   involved in a number of these burglaries and robberies,

12:17:15    6   would be familiar with, had an opportunity to observe

12:17:19    7   the individuals with whom he was allegedly engaged in

12:17:23    8   this serious criminal conduct.           He identified, as I

12:17:26    9   understand the government's proffer, my client, and as

12:17:33   10   someone he knew as "Bundy."          So, we're talking about a

12:17:37   11   situation where he doesn't know the person's name,

12:17:44   12   didn't really give a detailed description of my client,

12:17:53   13   and, as I understand it, had participated in at least

12:17:57   14   one, this one, and maybe more of these incidences.               And

12:18:03   15   when it comes to the second person, he fingers, or a

12:18:06   16   second person that he fingers as being part of this

12:18:13   17   March 22 second robbery, he is given a photo array and

12:18:20   18   says "I think that is Cowboy.          The beard did it for me."

12:18:27   19   These are not particularly significant identifications

12:18:29   20   and I'm not given really with any type of certainty, in

12:18:33   21   my view, the Court can rely on.           Another interesting

12:18:39   22   thing about Witness 1 is when it comes to this pistol

12:18:45   23   whipping incident, as I read the Criminal Complaint and

12:18:52   24   as I understand the government's proffer, what Witness 1

12:18:57   25   said about pistol whipping is that, first of all, I
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12:19:13    2   should say that Victim 2, the person who is allegedly

12:19:19    3   pistol whipped, recounts that suspects one, two, and

12:19:33    4   three caught victim two, threw him to the floor, which I

12:19:44    5   infer to mean the floor of the home, inside, and that

12:19:54    6   victim one was pistol whipped during the robbery.                What

12:20:03    7   Witness 1 says is that while inside the location, the

12:20:20    8   male occupant of the house ran and broke his leg after

12:20:25    9   Bundy pistol whipped him.         Witness 1 was not inside the

12:20:32   10   location.    There is no possible way for Witness 1, as we

12:20:36   11   understand it, and based upon the government's proffer,

12:20:38   12   my understanding from reading the Complaint was that

12:20:44   13   Witness 1 was the driver and waited outside while the

12:20:47   14   three perpetrators went inside.           So what we have here is

12:20:51   15   we have a plain statement by Witness 1, clearly making

12:20:55   16   up information or providing information that he obtained

12:21:00   17   from some other person, which is hearsay, it really

12:21:05   18   shouldn't even be in this affidavit.

12:21:13   19                  MAGISTRATE JUDGE PAYSON:         Okay.

12:21:14   20                  Mr. LEMBKE:      So Witness 1 is problematic.

12:21:20   21   Witness two, no, cooperating Witness 1, as I understand

12:21:29   22   it, also, identified the two other individuals that went

12:21:57   23   into the house, one of which he knew, again, as Bundy or

12:22:01   24   Bundles.    They enter through the back door while W 1

12:22:08   25   waited outside in the car.         There is a statement here by
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12:22:13    2   the confidential Witness 1 that all three men were armed

12:22:18    3   with handguns.      There is a statement in the Criminal

12:22:25    4   Complaint from, I believe, Witness 1 that states that

12:22:28    5   two of the three, yeah, suspects, Victim 2 stated, and

12:22:33    6   going down, and I'm at paragraph six, "suspects two and

12:22:40    7   three were armed with handguns."            CW 1 was also the one

12:22:48    8   that had difficulty identifying the third individual who

12:22:54    9   entered as that of Cowboy and that the beard did it for

12:22:59   10   him.   Confidential witness two --

12:23:01   11                  MAGISTRATE JUDGE PAYSON:         I'm a little

12:23:03   12   confused, because I think you said that about Witness 1,

12:23:07   13   so is it Witness 1 or CW 2?            Let me ask Mr. Harvey to

12:23:12   14   clarify.

12:23:13   15                  MR. HARVEY:      It's CW 1.

12:23:15   16                  MAGISTRATE JUDGE PAYSON:         CW 1 is the one

12:23:16   17   that looks at the array and says, "I think that is

12:23:20   18   Cowboy.    And the beard did it for me"?

12:23:23   19                  MR. HARVEY:      Yes.

12:23:23   20                  Mr. LEMBKE:      Right.     I'm sorry.    I'm sorry.

12:31:11   21                  MAGISTRATE JUDGE PAYSON:         No problem.

12:31:24   22                  Mr. LEMBKE:      Yeah.     Witness 1 says that the

12:31:26   23   three individuals participating in the home invasion

12:31:29   24   were Zay, Bundy and Jeff.         And as I understand the

12:31:36   25   proffer, there was only a photo array shown to Witness 1
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12:31:41    2   that was discussed here where he identified my client as

12:31:46    3   being Bundy.     I don't know whether you said -- I can't

12:31:51    4   remember if he said he identified the other two from

12:31:54    5   photo arrays or not.

12:31:57    6                  MR. HARVEY:      I'll clarify.      I didn't say

12:32:01    7   that, but I'm about to.

12:32:03    8                  Mr. LEMBKE:      Okay.    Go ahead.

12:32:04    9                  MR. HARVEY:      In regard to Witness 1, in

12:32:06   10   reviewing the reports, he identified each of the three

12:32:09   11   perpetrators in photo arrays.           And he did use the words

12:32:14   12   that are set forth in the Complaint Affidavit.               We

12:32:16   13   included only the photo array referenced for this

12:32:20   14   defendant because he is the one charged in this

12:32:23   15   Complaint, but there were photo arrays done for the

12:32:25   16   other two perpetrators as well.

12:32:27   17                  MAGISTRATE JUDGE PAYSON:         Okay.    Thank you.

12:32:28   18                  MR. HARVEY:      And his statement of their

12:32:30   19   names, at least with respect to Zay and Jeff is

12:32:33   20   shorthand versions of their actual first names.

12:32:38   21                  Mr. LEMBKE:      So, moving onto Confidential

12:32:42   22   Witness 2 is the most problematic.            Because, first of

12:32:49   23   all, Confidential Witness 2 was shown a photo array.              I

12:32:53   24   understand it was over video, but, nonetheless, as Mr.

12:33:01   25   Harvey said, this was during the pandemic.              So it's hard
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12:33:03    2   to nail that down in terms of time, but clearly closer

12:33:07    3   to the incident than February of 2021.             My guess is that

12:33:12    4   it was probably sometime in middle or, you know, of 2020

12:33:19    5   because that was kind of the height of COVID, but, in

12:33:23    6   any event, the first time around, he didn't identify Mr.

12:33:31    7   Green as being one of the participants in the Conrad

12:33:37    8   Drive incident.      In fact, even when it -- when he was

12:33:46    9   trying to identify, I believe it was a photo array of

12:33:52   10   the defendant, Mr. Green, said "it looked like someone

12:33:56   11   that participated in a home invasion robbery near a

12:34:01   12   firehouse in Webster."        And I think by that he was

12:34:05   13   referring to Mr. Green and that's a photo of Mr. Green.

12:34:12   14   He didn't identify him as being a participant of Conrad

12:34:18   15   Drive.    And then sometime later, we don't know because

12:34:23   16   we don't know when the first attempt at the photo array,

12:34:26   17   he was shown the same photo array as the firehouse in

12:34:31   18   Webster, and, as I understand it, CW 2 said he did not,

12:34:39   19   I didn't really catch what that was, did not see

12:34:45   20   somebody in there.       He recounted what happened at 331

12:34:51   21   Conrad and the four perpetrators and he described the

12:34:56   22   fourth, who I understand to be allegedly my client as

12:35:01   23   someone with a brush cut, the same guy as at the

12:35:06   24   invasion at the home invasion at the firehouse.                  So, CW

12:35:12   25   2, and it's difficult, it's really kind of difficult for
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12:35:15    2   me to follow, you know, when we're using these "CW 2,"

12:35:21    3   "CW 1" type of nomenclature, but this clearly CW 2's

12:35:28    4   identification is problematic.           And let's just step back

12:35:35    5   a second.    This is not a situation where we're talking

12:35:37    6   about witnesses who are unknown to the perpetrators who

12:35:41    7   are victims of crime, who sees people for split seconds

12:35:46    8   and we're going back now and nitpicking the

12:35:49    9   identification of whom did what to whom, which took

12:35:52   10   place in a split second.         We're talking about partners

12:35:55   11   in crime here, people who drove to the place together,

12:35:58   12   who left the place together, who we could assume had

12:36:01   13   some sort of relationship, who, as I understand the

12:36:04   14   proffer as a whole, did have some sort of relationship

12:36:08   15   in committing other offenses similar to this offense,

12:36:12   16   and you would think there would be a little bit more

12:36:15   17   consistency and a little bit more certainty as to the

12:36:18   18   other individuals with whom they were entering a house

12:36:22   19   to steal money and drugs and beat people up.               So just as

12:36:28   20   a whole, in general, all of this information is

12:36:30   21   problematic, in my view, to the Court in determining

12:36:33   22   whether it's reliable enough to establish probable

12:36:37   23   cause.    And I just want to step back on another point

12:36:43   24   and say that what I find to be somewhat interesting, if

12:36:49   25   not remarkable and certainly noteworthy and important
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12:36:54    2   for the Court to consider concerning the government's

12:36:57    3   proffer, it's really a kind of lack of detailed

12:37:00    4   information among the three sources of information, even

12:37:07    5   the five sources of information, the two victims being

12:37:10    6   two of them and then three of the four participants, if

12:37:14    7   you will, the driver and the other two men.              It seems to

12:37:21    8   me, Judge, that what has been recounted here is so vague

12:37:33    9   it lacks in substantial detail such that it's kind of

12:37:38   10   information that people can pick up from here or there

12:37:44   11   or piece together or just talk in kind of generalities

12:37:48   12   as opposed to specificity, and there is really not much

12:37:52   13   in terms of specific conduct of any of the individuals

12:37:55   14   that can give the Court, you know, the kind of comfort

12:38:02   15   level in saying, yeah, those are pretty detailed

12:38:06   16   recitations of fact of what happened.             Really, what we

12:38:09   17   get here, a bunch of guys went in.            The woman was, you

12:38:14   18   know, was grabbed and put a hand over her mouth, they

12:38:21   19   tied the guy up, walked him around, they said bad things

12:38:24   20   to him, the guy tried to run away, and he broke his leg,

12:38:55   21   and somebody hit him and they got the hell out of there,

12:38:58   22   heck out of there, sorry about that.            So, in that

12:39:03   23   regard, I think that the government's proffer relates to

12:39:07   24   the weight of the evidence, which I think is the

12:39:10   25   significant thing here because, look, let's face it, I
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12:39:14    2   read the presentence report, and I read all of the

12:39:16    3   violations of probation and all of those violations of

12:39:20    4   parole, and all of those prior convictions.              And Mr.

12:39:23    5   Green and I have talked about it, in terms of that, you

12:39:28    6   know, there is not a lot to recommend release here for

12:39:32    7   him.   But the problem is, you can't hold a guy in

12:39:35    8   custody if you don't have proof that he done it.                 And I

12:39:39    9   don't think you have proof that he done it.              And that is

12:39:42   10   my proffer.

12:39:44   11                  MAGISTRATE JUDGE PAYSON:         Okay.    Mr. Harvey,

12:39:47   12   is there anything you want to say in response?

12:39:49   13                  MR. HARVEY:      Judge, I guess I'll clarify a

12:39:56   14   few things.     I think you can rely on the information

12:40:02   15   from Witness 1.      I don't think that, based on my review

12:40:05   16   of the reports relating to his proffers, that he is a

12:40:09   17   drug user.     I believe he was getting description

12:40:14   18   quantities from the 331 Conrad Street robbery, so there

12:40:20   19   was no particular indication that that witness was a

12:40:23   20   drug user.

12:40:24   21                  MAGISTRATE JUDGE PAYSON:         As opposed to a

12:40:25   22   drug dealer.

12:40:26   23                  MR. HARVEY:      Right, right, that is my

12:40:27   24   understanding, Judge.        With respect to how he found out

12:40:32   25   this defendant was the one that pistol whipped Victim 2,
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12:40:37    2   the report does not specifically say where his source of

12:40:41    3   information was for that, but presumably it was in

12:40:44    4   conversation among co-conspirators because there were

12:40:47    5   three people in the house who returned to the car with

12:40:50    6   Witness 1 and fled the area.          So, presumably, that was a

12:40:55    7   subject of conversation.         And, I say, I think the Court

12:40:58    8   can infer that because, how else would Witness 1 know

12:41:02    9   what happened inside that house?           There was no other

12:41:05   10   connection between Victim 1.

12:41:07   11                  MAGISTRATE JUDGE PAYSON:         Well, I can think

12:41:09   12   of at least one other man or I think Mr. Lembke raises a

12:41:15   13   valid point here, which is that Witness 1, by the

12:41:24   14   government's own proffer, didn't go into the house

12:41:27   15   during the robbery.       Somebody, according to the

12:41:31   16   government's proffer, is giving directions over a

12:41:33   17   telephone, and, I presume, that that person also may be

12:41:38   18   hearing what's going on, and, you know, I think that

12:41:45   19   there are probably different scenarios under which

12:41:49   20   Witness 1 may have come into that information.               Perhaps

12:41:53   21   one scenario is more reliable than another, and I think

12:41:57   22   it is a valid question because -- and you didn't proffer

12:42:02   23   that.   I asked you that question, if I'm remembering

12:42:05   24   that correctly, I don't think you said in your proffer

12:42:09   25   that the defendant pistol whipped.            You said there was a
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12:42:12    2   pistol whipping.       And I asked you a question, so I take

12:42:16    3   from that, you were making your proffer without relying

12:42:19    4   on that fact, but I think Mr. Lembke raises a reasonable

12:42:23    5   point as to the reliability of Witness 1's assertion in

12:42:29    6   that respect since we don't have any other information

12:42:33    7   or I don't know, in the Complaint, as to who committed

12:42:37    8   the alleged pistol whipping.          And I guess what I think

12:42:48    9   you're also telling me is that Witness 1, who is no

12:42:52   10   longer in a cooperative posture.           So you're probably

12:42:56   11   stuck with whatever reports you have in terms of whether

12:42:59   12   you can go back and figure out where you have any

12:43:02   13   information as to where that -- what that was based on,

12:43:06   14   right?    You can't go back to Witness 1 because Witness 1

12:43:09   15   is no longer in a cooperating posture.

12:43:12   16                  MR. HARVEY:      Right.    I can go back to the

12:43:14   17   investigators and see if they asked him that question.

12:43:16   18                  MAGISTRATE JUDGE PAYSON:         Right, right.

12:43:17   19   That is what I'm saying.         You may be able to get the

12:43:20   20   information from investigators, but if they don't have

12:43:23   21   it and it's not noted, you can't get that from Witness 1

12:43:26   22   right now.

12:43:26   23                  MR. HARVEY:      I think that is fair to say,

12:43:28   24   Judge.    Although I don't know what other source of

12:43:30   25   information Witness 1 would have had because the victims
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12:43:35    2   of the home invasion did not report it to the police for

12:43:38    3   obvious reasons, and my understanding is that Victim 1

12:43:42    4   and Victim 2 have no relationship with Witness 1.

12:43:46    5                  MAGISTRATE JUDGE PAYSON:         Well, isn't it

12:43:47    6   possible that, and we can divorce it from this

12:43:52    7   particular case, but, I mean, we've all seen cases where

12:43:55    8   somebody purports to have information and when you track

12:43:58    9   down what the source of that is is somebody heard it

12:44:01   10   from somebody who heard it from somebody who passes

12:44:05   11   along to somebody else.         So Witness 1 may have been in a

12:44:09   12   position to have learned that from the perpetrators, and

12:44:15   13   you're assuming that he did, but it seems to me it's

12:44:20   14   possible that he didn't learn it directly from the

12:44:23   15   perpetrators.      And I just think we don't have any

12:44:26   16   information, you know, as to where that came from.                  Your

12:44:30   17   theory is certainly plausible, but I think there are

12:44:35   18   other plausible inferences.

12:44:38   19                  MR. HARVEY:      I understand, Judge.        It's

12:44:40   20   certainly possible it came from another avenue.                  I mean,

12:44:44   21   I can try and find out the answer to that question,

12:44:46   22   first of all.      Second of all, even if he did get it from

12:44:50   23   another source, whether or not this defendant or one of

12:44:53   24   the other armed accomplices who entered the house with

12:44:56   25   him pistol whipped Victim 2, I don't think is the most
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12:45:06    2   significant fact here.        The fact is --

12:45:08    3                  MAGISTRATE JUDGE PAYSON:         That's fine.     I

12:45:10    4   asked the question, you didn't proffer it, so I can see

12:45:15    5   why Mr. Lembke would think it's important to raise that

12:45:18    6   issue because it's something that I thought might be

12:45:20    7   important.     I understand you're saying that you're not,

12:45:23    8   you're not relying on that.

12:45:25    9                  Mr. Moynihan, we're probably going to be a

12:45:27   10   few more minutes.

12:45:29   11                  So, I think what you're telling me is that

12:45:32   12   you would be moving for detention and indeed you made

12:45:36   13   your proffer without inclusion of that allegation.

12:45:40   14                  MR. HARVEY:      I think my proffer continued in

12:45:42   15   responses to the Court's questions.

12:45:43   16                  MAGISTRATE JUDGE PAYSON:         No, you're saying

12:45:44   17   there is a basis to detain the defendant irrespective of

12:45:49   18   the pistol whipping.

12:45:50   19                  MR. HARVEY:      Right.

12:45:51   20                  MAGISTRATE JUDGE PAYSON:         I understand.

12:45:52   21                  MR. HARVEY:      But I'm also saying that I'm

12:45:54   22   happy to try and track that down and get that answer to

12:45:56   23   the court if that were material to the Court's decision.

12:45:59   24                  MAGISTRATE JUDGE PAYSON:         Okay.    Was there

12:46:00   25   something else?
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12:46:01    2                  MR. HARVEY:      I mean, your Honor, I would

12:46:04    3   state that, you know, each of Cooperating Witness 1 and

12:46:09    4   Cooperating Witness 2, both gave detailed statements

12:46:13    5   about this robbery.       And the bottom line is, and I could

12:46:20    6   go into more detail about what they stated chapter and

12:46:24    7   verse, but Victim 1 and Victim 2's facts of what

12:46:28    8   happened inside that house and Cooperating Witnesses 1

12:46:33    9   and 2 give us the identity of the people that did it, so

12:46:37   10   that is my point.

12:46:38   11                  MAGISTRATE JUDGE PAYSON:         Okay.    What I

12:46:40   12   would like is information, and I think it probably would

12:46:45   13   come from the government rather than pretrial services

12:46:48   14   with respect to the parole violations.             I would like to

12:46:53   15   know what is the basis of those violations when we're

12:46:56   16   talking about parole violations.           You know, Monroe

12:47:00   17   County probation violations, I know that is information

12:47:02   18   that pretrial can often provide to me.             I'm not sure

12:47:05   19   that is true about parole.         So I don't know who has

12:47:09   20   easier access to that information, Mr. Harvey.

12:47:12   21                  PROBATION:     Your Honor, we can request

12:47:15   22   parole records.      Sometimes we don't get them in a timely

12:47:19   23   fashion.

12:47:19   24                  MAGISTRATE JUDGE PAYSON:         That is what I

12:47:20   25   thought.    Why don't I ask Mr. Harvey to see if he can
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12:47:23    2   track that down.

12:47:24    3                  MR. HARVEY:      Happy to do it, Judge.

12:47:26    4                  MAGISTRATE JUDGE PAYSON:         I know there are

12:47:27    5   two pro-operation violations that the government noted

12:47:31    6   and Mr. Lembke acknowledged them, they are in 2013.               I'm

12:47:35    7   not saying that that is irrelevant for my purposes

12:47:39    8   because, you know, as the government indicated, and I

12:47:46    9   think Mr. Lembke will acknowledge, looking at the

12:53:49   10   criminal history is not, you know, it's not a

12:53:52   11   particularly compelling showing, by the defense, for

12:53:57   12   release.    But, as to the violations of probation, Mr.

12:54:03   13   Green was, you know, relatively young.             I'm not -- I

12:54:07   14   don't think we need to go back and find out what the

12:54:10   15   basis of the violations of probation were in 2013, but I

12:54:15   16   am interested in the violations of parole on the

12:54:19   17   subsequent, subsequent convictions.            And I would agree,

12:54:25   18   Mr. Lembke.     So, you're certainly welcome, you know, if

12:54:29   19   you have any information about any of those violations

12:54:31   20   that you think would be helpful for me to consider, you

12:54:36   21   are welcome to send me an e-mail with a copy to the

12:54:40   22   government and give me any information that you would

12:54:43   23   like to proffer.       You're certainly right that that is

12:54:48   24   information the Court considers, and considers fairly

12:54:52   25   significantly, as you know.          I don't disagree with you
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12:54:56    2   that, you know, before I get to criminal history, I do

12:54:59    3   have to look at the crime that is being charged here.                   I

12:55:05    4   am, you know, I'm keenly aware of the requirement that

12:55:09    5   there be probable cause.         You know, I'm the Judge who

12:55:13    6   signed the Complaint.        I reviewed it carefully, noting

12:55:18    7   some of the observations, frankly, that the defense

12:55:21    8   made.   But on balance, determining on the basis of what

12:55:25    9   had been presented to me in the Complaint that a showing

12:55:27   10   of probable cause had been made.           But, I don't, you

12:55:32   11   know, I don't disagree with you that I don't get to

12:55:35   12   criminal history, you know, unless I'm satisfied that

12:55:38   13   certainly this is, you know, a crime for which probable

12:55:44   14   cause has been -- has been shown.           That was my, my

12:55:49   15   conclusion at the time the Complaint was presented to

12:55:53   16   me, but I certainly would like to think about that issue

12:55:56   17   again in light of the arguments that you've made.                But,

12:56:04   18   you know, assuming that I reach that conclusion, the

12:56:07   19   criminal history is significant, so I think if there is

12:56:11   20   anything that you do want to offer on any of -- on any

12:56:15   21   of that, you're certainly welcome to do that.

12:56:19   22                  MR. LEMBKE:      I understand.      Thank you.

12:56:20   23                  MAGISTRATE JUDGE PAYSON:         Okay.    I think

12:56:23   24   that is it.     I don't have any particular -- I would say,

12:56:26   25   Mr. Harvey, if you do have an answer to what the basis
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12:56:31    2   is for Witness 1's allegation, I would welcome your

12:56:38    3   telling me that.       If Mr. Lembke wants to respond in any

12:56:43    4   fashion, of course, he may.          He is not required to do

12:56:46    5   that.   Okay.     So I'm going to reserve on this motion and

12:56:56    6   await further information from the government.                 And, Mr.

12:57:00    7   Lembke, you know, at some point after you receive

12:57:03    8   information from Mr. Harvey, if you would be kind enough

12:57:06    9   just to let me know do you want to respond or not.

12:57:10   10                   Mr. LEMBKE:     I will.

12:57:11   11                   MAGISTRATE JUDGE PAYSON:         What would you

12:57:12   12   like to do about a preliminary hearing or a further

12:57:14   13   status conference?

12:57:16   14                   Mr. LEMBKE:     We would like to schedule a

12:57:18   15   preliminary hearing.

12:57:20   16                   MAGISTRATE JUDGE PAYSON:         Okay.    My

12:57:33   17   recollection is that we were in here on Monday was the

12:57:37   18   day he was arrested and appeared, which was the 26th, is

12:57:41   19   that right?

12:57:43   20                   MR. LEMBKE:     July?     Yes.

12:57:50   21                   MAGISTRATE JUDGE PAYSON:         Yes.    And you said

12:57:51   22   you wanted to address the preliminary hearing today.                 So

12:57:54   23   I think we count from today, not Monday.

12:57:56   24                   Mr. LEMBKE:     Well, okay.

12:57:58   25                   MAGISTRATE JUDGE PAYSON:         Fourteen days,
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12:57:59    2   and, I mean, generally, I ask, do you want to address

12:58:02    3   the issue of a preliminary hearing today or on Thursday.

12:58:06    4                  Mr. LEMBKE:      All right.     I mean, we're

12:58:08    5   talking about, you know, three days, but, still, I think

12:58:11    6   the statute says that it's not later than 14 days after

12:58:15    7   initial appearance.       So I don't know.

12:58:18    8                  MAGISTRATE JUDGE PAYSON:         It is, unless, and

12:58:19    9   I say, do you want to schedule a preliminary hearing at

12:58:23   10   the initial appearance, and if the issue is I would like

12:58:25   11   to address that on Thursday, then, I've always

12:58:30   12   understood, and I think others have understood that that

12:58:33   13   means you're not going to come in on the 13th day and

12:58:36   14   say, okay, now I want to have it tomorrow.

12:58:39   15                  Mr. LEMBKE:      I guess I understand.

12:58:42   16                  MAGISTRATE JUDGE PAYSON:         But, you know, if

12:58:43   17   it doesn't matter to Mr. Harvey, I don't, you know, I'll

12:58:47   18   put it on for the 9th.        Judge Pedersen will handle it,

12:58:51   19   in any event, because I won't be here.             So, do you want

12:58:54   20   it on the 9th?      Can you present next week if that is

12:58:59   21   what --

12:58:59   22                  MR. HARVEY:      I'll be presenting next week,

12:59:00   23   but I would like the full 14 days, please.

12:59:03   24                  MAGISTRATE JUDGE PAYSON:         Well, I suggest

12:59:05   25   that you go back and listen to the recordings and I
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12:59:10    2   think that, unless Mr. Lembke is telling me that he is

12:59:15    3   satisfied with the 12, I don't want to have any argument

12:59:19    4   that it should have been on the 9th rather than the

12:59:24    5   12th.    My understanding was that the issue of the

12:59:27    6   preliminary hearing was going to be addressed today and

12:59:29    7   the period of time from Monday to Thursday would not

12:59:32    8   count.    But --

12:59:34    9                  MR. HARVEY:      That was my understanding, too.

12:59:35   10                  MAGISTRATE JUDGE PAYSON:         But, as you know,

12:59:36   11   I've had so many appearances in the last two weeks.                 I

12:59:40   12   don't recall the record.

12:59:40   13                  MR. HARVEY:      This would be a first in my

12:59:42   14   experience if counsel were to retroactively start

12:59:48   15   clocking that.      I'll double check the recording, but

12:59:50   16   that is my understanding.

12:59:51   17                  MAGISTRATE JUDGE PAYSON:         With that

12:59:52   18   understanding, I'll put it on for August 12th.               And I'm

12:59:58   19   going to put it on at 2 p.m. on August 12th.               I will

13:00:03   20   send an e-mail to Judge Pedersen and confirm his

13:00:06   21   availability for a preliminary hearing.

13:00:09   22                  I assume, Mr. Harvey, that you're going to

13:00:11   23   present the case to the grand jury?

13:00:12   24                  MR. HARVEY:      Yes, that's right, Judge.

13:00:14   25                  Mr. LEMBKE:      Your Honor, I have an another
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13:00:16    2   appearance in court on at 2:30 on the 12th, city court.

13:00:26    3   I can adjourn that.

13:00:29    4                  MAGISTRATE JUDGE PAYSON:         What?    He is not

13:00:37    5   in that day?

13:00:39    6                  THE CLERK:     It looks as though he is out.

13:00:41    7                  MAGISTRATE JUDGE PAYSON:         Sorry, Mr. Harvey.

13:00:42    8   I'm going to go to the 11th since Judge Pedersen is

13:00:46    9   evidently not here on the 12th.           2 o'clock on the 11th.

13:00:53   10   Okay?   I'm reserving on the government's motion for

13:00:55   11   detention.     We'll put this on for a preliminary hearing

13:00:59   12   on August 11th at 2 o'clock.          Anything else?

13:01:06   13                  MR. HARVEY:      No, your Honor.

13:01:07   14                  Mr. LEMBKE:      Judge, I do.      Well, I did want

13:01:09   15   to address one thing.        I don't think, however, that as I

13:01:12   16   understand it, the running of this detention hearing and

13:01:17   17   the running of the preliminary hearing do not affect the

13:01:21   18   timing of when the government would have to bring an

13:01:26   19   indictment, which I think is 30 days from the day of the

13:01:29   20   defendant's, of his arrest.          Do you have a different

13:01:34   21   position on that?

13:01:37   22                  MR. HARVEY:      The way we handle it is it's 14

13:01:40   23   days for somebody in custody and, yes, it would be from

13:01:43   24   the day of arrest, if you were to request the PH on that

13:01:47   25   day.
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13:01:48    2                  MAGISTRATE JUDGE PAYSON:         No, I'm talking

13:01:49    3   about the indictment, the 30 days you have to indict him

13:01:52    4   under 3161(b).

13:01:55    5                  MR. HARVEY:      It's 14 days.      I would love to

13:01:58    6   have 30 days.

13:01:59    7                  MAGISTRATE JUDGE PAYSON:         No, Mr. Harvey, I

13:02:01    8   believe, is incorrect.        There is a 14-day period for a

13:02:05    9   preliminary hearing.        But the defendant doesn't have a

13:02:07   10   preliminary hearing if he is indicted first.               So as a

13:02:10   11   practical matter, in cases in which an in-custody

13:02:15   12   defendant reserves the right to a preliminary hearing,

13:02:18   13   the government is likely to present the case to the

13:02:20   14   grand jury and secure an indictment within that 14-day

13:02:23   15   period.     If the government secured an indictment on the

13:02:28   16   29th day, that would be consistent with the speedy trial

13:02:34   17   clock, although it would be a violation of the

13:02:36   18   preliminary hearing rule if there had been a preliminary

13:02:39   19   hearing requested.       So I think they are two separate

13:02:43   20   rules with separate clocks.

13:02:45   21                  Mr. LEMBKE:      Correct.    For example, I

13:02:47   22   suppose if it went according to all of the rules, we

13:02:50   23   would have a detention hearing, you know, within

13:02:53   24   whatever number of days, preliminary hearing within 14

13:02:56   25   days.     If the Court found probable cause to hold the
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13:02:59    2   defendant, they would have 16 days from then to indict.

13:03:02    3                  MAGISTRATE JUDGE PAYSON:         I think that is

13:03:04    4   right.

13:03:04    5                  Mr. LEMBKE:        Follow me?   I'm talking

13:03:06    6   about --

13:03:07    7                  MR. HARVEY:        I got you.

13:03:08    8                  Mr. LEMBKE:        And the time if we have

13:03:09    9   hearings it doesn't move the time back it starts from

13:03:13   10   back there when he was first arrested, the 30-day time

13:03:16   11   period.

13:03:17   12                  MAGISTRATE JUDGE PAYSON:         There has been a

13:03:18   13   speedy trial exclusion by virtue of the pendency of the

13:03:23   14   government's motion, so that may affect the speedy

13:03:26   15   indictment clock.

13:03:27   16                  Mr. LEMBKE:        All right.   Okay.

13:03:29   17                  MAGISTRATE JUDGE PAYSON:         In any event, I

13:03:31   18   think the government has said it intends to present the

13:03:33   19   case to the grand jury, so we'll see.

13:03:37   20                  Mr. LEMBKE:        Okay.

13:03:38   21                  MAGISTRATE JUDGE PAYSON:         Thank you.

13:03:38   22                  Mr. LEMBKE:        Yes, thank you.

           23                                 *      *    *

           24                        CERTIFICATE OF REPORTER

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 2      I certify that the foregoing is a correct transcript

 3   of the record to the best of my ability of proceedings

 4   transcribed from the audio in the above-entitled matter.

 5

 6   S/ Karen J. Clark,       RPR

 7   Official Court Reporter

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